        Case 20-11047-pmm                       Doc      Filed 01/14/21 Entered 01/14/21 11:17:12                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 6
 Debtor 1              Janet M. Pietrobone
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District      of __________
                                                          of Pennsylvania
                                                      District

 Case number            20-11047
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   PNC BANK, N.A.
 Name of creditor: _______________________________________                                                        8
                                                                                     Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           9 ____
                                                         ____ 3 ____
                                                                  7 ____
                                                                      0              Must be at least 21 days after date       03/01/2021
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                                526.38
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                    199.55
                   Current escrow payment: $ _______________                      New escrow payment:                    220.03
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      
      ✔
      
           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                New interest rate:           _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      
      ✔
      
           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                    New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                           page 1
      Case 20-11047-pmm                              Doc          Filed 01/14/21 Entered 01/14/21 11:17:12                         Desc Main
                                                                  Document      Page 2 of 6

Debtor 1         Janet   M. Pietrobone
                 _______________________________________________________                                          20-11047
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

     
     ✔     I am the creditor.

          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8/s/ Vicki Pringle
     _____________________________________________________________
     Signature
                                                                                               Date    01/14/2021
                                                                                                       ___________________




 Print:             Vicki Pringle
                    _________________________________________________________                  Title   Default Support Specialist
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            PNC BANK, N.A.,
                    _________________________________________________________



 Address            3232 Newmark Drive
                    _________________________________________________________
                    Number                 Street

                    Miamisburg                       OH      45342
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      886-764-0659
                    ________________________                                                          bankruptcy@pnc.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
                                                              REPRESENTATION OF PRINTED DOCUMENT
                  Case 20-11047-pmm        Doc
                                P.O. Box 1820                           Filed 01/14/21 Entered 01/14/21 11:17:12
                                                                                                     ESCROW      Desc Main
                                                                                                            ACCOUNT
                                                                         Document
                                                   Dayton, Ohio 45401-1820
                                                   Website: pnc.com/homehq
                                                                                      Page 3 of 6 DISCLOSURE STATEMENT
                                                   Customer Service 1-800-822-5626                                                 LOAN NUMBER:
                                                                                                                                          DATE:                        January 05, 2021

                                                                                                                                   PROPERTY ADDRESS:
                                                                                                                                      365 HAZEL ST
                                                                                                                                      READING, PA 19611


                   JANET PIETROBONE
                   365 HAZEL ST
                   READING PA 19611-2054




    CURRENT MONTHLY MORTGAGE PAYMENT
    Principal & Interest                                                             306.31          Æ                          NEW PAYMENT INFORMATION
                                                                                                                   Principal & Interest                                                            306.31

                                                                                                     Æ
    Escrow                                                                           199.55                        Escrow                                                                          201.55
    Total Payment                                                                    505.86                        Prorated Escrow Shortage                                                         18.52
                                                                                                                   Total Payment                                                                   526.38

                                                                                                     Æ
                                                                                                                   New Payment Effective Date                                                    03/01/21



                                                                              COMING YEAR ESCROW PROJECTION
   This statement provides a detailed summary of activity related to your escrow account. PNC Bank maintains your escrow account to pay such items as property taxes,
   insurance premiums, and mortgage insurance.
   This section lists a 12-month running escrow balance to determine the appropriate target balance and to determine if a shortage or surplus exists. This is a projection of the
   anticipated activity in your escrow account for the coming 12 months.

     ANTICIPATED ESCROW DISBURSEMENT                                         PAYMENTS                                                              PAYMENTS              CUR BAL              REQ BAL
                                                               MONTH        TO ESCROW                       DESCRIPTION                          FROM ESCROW           PROJECTION           PROJECTION
 COUNTY TAX                                    $1,105.35
                                                                                                         BEGINNING BALANCE                                                   806.33             1,105.35
 TAXES                                          $425.23
                                                               March               201.55                                                                                    1,007.88             1,306.90
 HAZARD INS                                     $888.00
                                                               April               201.55                 COUNTY TAX                               1,105.35                    104.08 *             403.10 **
                                                               May                 201.55                                                                                      305.63               604.65
                                                               June                201.55                                                                                      507.18               806.20
                                                               July                201.55                                                                                      708.73             1,007.75
                                                               August              201.55                 SCHOOL TAX                                 425.23                    485.05               784.07
 TOTAL DISBURSEMENTS                           $2,418.58
                                                               September           201.55                                                                                      686.60               985.62
 DIVIDED BY 12 MONTHS                                          October             201.55                                                                                      888.15             1,187.17
                                                               November            201.55                                                                                    1,089.70             1,388.72
 MONTHLY ESCROW DEPOSIT                          $201.55       December            201.55                                                                                    1,291.25             1,590.27
                                                               January             201.55                 HAZARD INS                                 888.00                    604.80               903.82
   CALCULATION OF ESCROW ADJUSTMENT                            February            201.55                                                                                      806.35             1,105.37
                                                               * The projected escrow balance at the low point.
 BEGINNING PROJECTED BALANCE                    $806.33        ** The lowest balance the escrow account should attain during the projected period.
 BEGINNING REQUIRED BALANCE                    $1,105.35


 ESCROW SHORTAGE                                 $222.27
                                                                                                               MORE INFORMATION ON REVERSE SIDE
The required minimum balance allowed by
federal law (RESPA) is two times your monthly
escrow payment (excluding MIP/PMI), unless
your mortgage document or state law specifies
a lower amount.



                                                                               IMPORTANT MESSAGES
  Make your check, money order or cashier's check payable to PNC Bank. All Payments must be funds from a U.S. Bank Account and are subject to PNC's acceptance. Do NOT
  send cash by mail.




We understand that you have filed for bankruptcy and have not yet received a discharge. None of the information requested in this statement will be used for the collection of any debts or for purposes
prohibited by the Bankruptcy Code or other applicable Federal or state law.




                                                                                  INTERNET REPRINT
                                                                              ESCROW SHORTAGE COUPON

                                                                                                             Account Number:                                   Shortage Amount: $222.27
Customer Name: JANET PIETROBONE
                                                                                                             If you wish to pay the shortage amount in full, please mail a check for the
                                                                                                             shortage amount, along with this coupon, in the envelope provided. When
         PNC BANK                                                                                            paying your escrow shortage, please do not make your payment via electronic
                                                                                                             on-line banking, as it will not be applied directly to escrow. Payment should be
         PO BOX 6534
                                                                                                             remitted no later than 15 business days after receipt of this notification. Your
         CAROL STREAM IL 60197-6534                                                                          new monthly mortgage payment will be reduced to $507.86 once you pay the
                                                                                                             shortage amount. In order to avoid a delay in the processing of your
                                                                                                             payment, please DO NOT include your mortgage payment with the
                                                                                                             shortage payment.




        This is a copy of your escrow shortage coupon. If you cannot find your original statement, please contact Customer Service at
        800-822-5626 to request a new statement or click the link above to pay your escrow shortage online. Please DO NOT print and mail a
        copy of this coupon with your payment, because it may cause a delay in the posting of your payment.
                                      Case 20-11047-pmm  Doc ACCOUNT
                                                      ESCROW  Filed 01/14/21  EnteredSTATEMENT
                                                                        DISCLOSURE     01/14/21 11:17:12                                          Desc Main
                                                              Document      Page 4 of 6
        LOAN NUMBER:                                                                                                                           DATE: January 5, 2021

        Your projected escrow balance as of 02/28/21 is $806.33. Your required beginning escrow balance, according to this analysis, should be $1,105.35. This
        means you have a shortage of $222.27. We have divided the shortage interest-free, over 12 months. If you choose to pay the shortage in full, then your
        new monthly mortgage payment will be reduced to $507.86.
        Once during this analysis period, your required escrow balance should be reduced to a target balance of $403.10, as it does in April. Under Federal law,
        your target balance should not exceed an amount equal to two months of escrow payments for taxes and insurance, unless your mortgage document or
        state law specifies a lower amount.

        Projected Activity from the Previous Analysis
        This is a projection of the activity for your escrow account from the Previous Analysis. This projection was based on the disbursements anticipated to be
        made from your escrow account. Compare this projection to the actual escrow activity in the Account History (summarized below).
        The escrow payment in this projection may not equal the escrow payment in the Account History if an adjustment was made to collect a shortage or refund
        a surplus.
        Adjustments to the payment and differences between the anticipated and actual disbursements may prevent the actual balance from reaching the projected
        low escrow balance.
            Date                                          Description                                Payments                  Disbursements                                                                                                        Balance
                                                          BEGINNING BALANCE                                                                                                                                                                          399.08
         06/20                                                                                         199.55                                                                                                                                        598.63
         07/20                                                                                         199.55                                                                                                                                        798.18
         08/20                                            SCHOOL TAX                                   199.55                        425.23                                                                                                          572.50
         09/20                                                                                         199.55                                                                                                                                        772.05
         10/20                                                                                         199.55                                                                                                                                        971.60
         11/20                                                                                         199.55                                                                                                                                      1,171.15
         12/20                                                                                         199.55                                                                                                                                      1,370.70
         01/21                                                                                         199.55                                                                                                                                      1,570.25
         02/21                                                                                         199.55                                                                                                                                      1,769.80
         03/21                                                                                         199.55                                                                                                                                      1,969.35
         04/21                                            COUNTY TAX                                   199.55                       1,105.35                                                                                                       1,063.55
         05/21                                            HAZARD INS                                   199.55                         864.00                                                                                                         399.10 **
        TOTAL                                                                                        2,394.60                       2,394.58

        Account History
        This is a statement of actual escrow account activity from May 2020 through February 2021. Compare it to the Projected Activity from the Previous Analysis
        which appears above the Account History.
        Your total mortgage payment during the past year was $505.86 of which $306.31 was your Principal and Interest payment and $199.55 was your escrow
        payment.
             Date                  Description                                             Payments                Disbursements                   Balance
                                   BEGINNING BALANCE                                                                                             -1,492.90
            05/20                  HAZARD INS                                                                              888.00                -1,492.90
            08/20                                                                          1,366.89                               *                 -126.01
            09/20                                                                            224.81                                                   98.80
            11/20                  SCHOOL TAX                                                224.81                        425.23 *                 -101.62
            12/20                                                                            199.55                                                   97.93
            01/21                  HAZARD INS                                              1,396.85 e                      888.00 *e                 606.78
            02/21                                                                            199.55 e                                                806.33
         TOTAL                                                                             3,612.46                      2,201.23
        * Indicates a difference from projected activity either in the amount or the date.
        ** Required minimum escrow balance.
        "e" Indicates estimates for future payments or disbursements.
        If you have any questions about this analysis statement, please visit us at pnc.com/homehq to send us an email, write to us at PNC Bank; Attention:
        Customer Service Research; B6-YM07-01-7, PO Box 1820; Dayton, OH 45401 or call our Customer Service Department toll free number 1-800-822-5626.




O                                                                      O                                 O                                            O
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                                                                                                                                                                                                    DO NOT WRITE, STAMP OR SIGN BELOW THIS LINE




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                 A                                                              A                                    A                                                                                                                              A
                                                                                                                                                         RESERVED FOR FINANCIAL INSTITUTION USE 




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          “ORIGINAL DOCUMENT”.
          clearly see the words
          Do not cash if you do not




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        Case 20-11047-pmm             Doc      Filed 01/14/21 Entered 01/14/21 11:17:12 Desc Main
Disclosure on Cancellation                    of  MortgagePage
                                               Document       Insurance
                                                                 5 of 6   Premium (MIP)
You may have the option to cancel annual MIP in advance of the projected amortization date by making additional payments
of Mortgage principal. To inquire about loan qualifications for early termination of MIP, send in a written request to the address
listed below, or contact Customer Service.


   Call Customer Service at 1-800-822-5626, Monday-Thursday, 8:00 a.m. - 9:00 p.m. and Friday 8:00 a.m. - 5:00 p.m. ET.,
   or send a written request to the address on the statement
      PNC Bank
      P.O. Box 8736
      ATTN: Mortgage Insurance Department - B6-YM13-01-5
      Dayton, Ohio 45401-8736.
Case 20-11047-pmm            Doc   Filed 01/14/21 Entered 01/14/21 11:17:12           Desc Main
                                   Document      Page 6 of 6



                             UNITED STATES BANKRUPTCY COURT
                          FOR THE Eastern District of Pennsylvania
                                           (Reading)



 IN RE Janet M. Pietrobone                        Case No. 20-11047
                                                  Judge Patricia M. Mayer
                                                  Chapter 13


                                   CERTIFICATE OF SERVICE OF
                               Notice of Mortgage Payment Change

       I, the undersigned, hereby certify that, on January 14, 2021, a true and correct copy of
the Notice of Mortgage Payment Change was electronically served upon the following using the
Court’s CM/ECF system:

Debtor’s Attorney: JOHN A. DIGIAMBERARDINO
Trustee: SCOTT F. WATERMAN
Office of the United States Trustee

       Further, I certify that, on January 14, 2021, a true and correct copy of the Notice of
Mortgage Payment Change was forwarded via U.S. Mail, first class postage prepaid and
properly addressed, to the following at the address shown below:

       Janet M. Pietrobone            365 Hazel St. Reading, PA 19611


                                                             By: /s/ Vicki Pringle
                                                             Vicki Pringle
                                                             PNC Bank, N.A.
                                                             3232 Newmark Drive
                                                             Miamisburg Ohio 45342
                                                             866-754-0659
